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                        UNITED STATES DISTRICT COURT
                           DISTRICT OF NEW JERSEY


 IN RE: VALSARTAN,
 LOSARTAN, AND                                           MDL No. 2875
 IRBESARTAN PRODUCTS
 LIABILITY LITIGATION
                                                 HON. ROBERT B. KUGLER
                                                  CIVIL NO. 19-2875 (RBK)
 THIS DOCUMENT RELATES TO
 ALL CASES


                   CERTIFICATION OF ADAM M. SLATER
             IN SUPPORT OF PLAINTIFFS’ MOTIONS IN LIMINE
        ADAM M. SLATER, hereby certify as follows:

        1.    I am an attorney at law within the State of New Jersey and a partner

with the law firm of Mazie Slater Katz & Freeman, LLC, and serve as Plaintiffs’ Co-

Lead Counsel. I am fully familiar with the facts and circumstances of these

actions. I make this Certification in support of Plaintiffs’ motions in limine.

        2.    Attached hereto as Exhibit 1 is a true and accurate copy of the ICH’s

Draft Consensus Guideline on Assessment and Control of DNA Reactive

(Mutagenic) Impurities in Pharmaceuticals to Limit Potential Carcinogenic Risk

(M7).

        3.    Attached hereto as Exhibit 2 is a true and accurate copy of the FDA’s

Guidance for Industry: Genotoxic and Carcinogenic Impurities in Drug Substances

and Products.
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      4.     Attached hereto as Exhibit 3 is a true and accurate copy of the transcript

of Jun Du’s May 28, 2021 deposition.

      5.     Attached hereto as Exhibit 4 is a true and accurate copy of the transcript

of Eric Gu’s April 6, 2021 deposition.

      6.     Attached hereto as Exhibit 5 is a true and accurate copy of the transcript

of Min Li’s April 21, 2021 deposition.

      7.     Attached hereto as Exhibit 6 is a true and accurate copy of

ZHP01344159, the FDA’s November 29, 2018 Warning Letter.

      8.     Attached hereto as Exhibit 7 is a true and accurate copy of FDA

Statement on the FDA’s ongoing investigation into valsartan and ARB class

impurities and the agency’s steps to address the root causes of the safety issues (Jan.

25, 2019).

      9.     Attached hereto as Exhibit 8 is a true and accurate copy of USP’s

General Notices and Requirements.

      10.    Attached hereto as Exhibit 9 is a true and accurate copy of USP

Pharmacists’ Pharmacopeia on USP’s General Notices and Requirements.

      11.    Attached hereto as Exhibit 10 is a true and accurate copy of USP’s

<1086> Impurities in Drug Substances and Drug Products.

      12.    Attached hereto as Exhibit 11 is a true and accurate copy of

ZHP01447235, ZHP’s SOP on Genotoxic Impurity Evaluation.
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      13.    Attached hereto as Exhibit 12 is a true and accurate copy of the

transcript of Peng Dong’s March 29, 2021 deposition.

      14.    Attached hereto as Exhibit 13 is a true and accurate copy of

TORRENT-MDL2875-00072713, an internal Torrent email discussing the FDA’s

finding that its products were adulterated.

      15.    Attached hereto as Exhibit 14 is a true and accurate copy of

ZHP00061080, the FDA’s November 29, 2018 Warning Letter.

      16.    Attached hereto as Exhibit 15 is a true and accurate copy of the

EMEA’s Guideline on the Limits of Genotoxic Impurities.

      17.    Attached hereto as Exhibit 16 is a true and accurate copy of HUAHAI-

US00007752, the ZnCl2 DMF.

      18.    Attached hereto as Exhibit 17 is a true and accurate copy of

PRINSTON00080011, the TEA with sodium nitrite quenching DMF.

      19.    Attached hereto as Exhibit 18 is a true and accurate copy of FDA

announces voluntary recall of several medicines containing valsartan following

detection of an impurity (July 13, 2018).

      20.    Attached hereto as Exhibit 19 is a true and accurate copy of Amended

Expert Report of Ali Afnan, Ph.D., dated January 11, 2023.

      21.    Attached hereto as Exhibit 20 is a true and accurate copy of the relevant

excerpts of IARC, Some N-Nitroso Compounds (1978).
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      22.    Attached hereto as Exhibit 21 is a true and accurate copy of the relevant

excerpts of IARC, Overall Evaluations of Carcinogenicity: An Updating of IARC

Monographs Volumes 1 to 42 (1987).

      23.    Attached hereto as Exhibit 22 is a true and accurate copy of the abstract

for ZHP’s Patent for the method for Synthesizing Valsartan (W02020010643), dated

July 17, 2018.

      24.    Attached hereto as Exhibit 23 is a true and accurate copy of the

transcript of Jucai Ge’s May 27, 2022 deposition

      25.    Attached hereto as Exhibit 24 is a true and accurate copy of the

transcript of Min Li’s April 20, 2021 deposition.

      26.    Attached hereto as Exhibit 25 is a true and accurate copy of the

transcript of Jun Du’s May 27, 2021 deposition.

      27.    Attached hereto as Exhibit 26 is a true and accurate copy of the

transcript of Hai Wang’s March 10, 2021 deposition.

      28.    Attached hereto as Exhibit 27 is a true and accurate copy of

ZHP01451842, Prinston’s valsartan ANDA, Section 2.3.S Drug Substance.

      29.    Attached hereto as Exhibit 28 is a true and accurate copy of

PRINBURY00058078,          Prinston’s    valsartan   ANDA,       Section     3.2.P.5.5

Characterization of Impurities.
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      30.    Attached hereto as Exhibit 29 is a true and accurate copy of

PRINBURY00058083, Prinston’s valsartan ANDA, Section 3.2.P.5.6 Justification

of Specification.

      31.    Attached hereto as Exhibit 30 is a true and accurate copy of

PRINSTON00037968, Prinston’s valsartan HCTZ ANDA, Section 2.3.S Drug

Substance-Valsartan.

      32.    Attached hereto as Exhibit 31 is a true and accurate copy of

PRINSTON00183155, Prinston’s valsartan HCTZ ANDA, Section Characterization

of Impurities.

      33.    Attached hereto as Exhibit 32 is a true and accurate copy of

PRINSTON0017767 , Prinston’s valsartan HCTZ ANDA, Section 3.2.P.5.6

Justification of Specifications.

      34.    Attached hereto as Exhibit 33 is a true and accurate copy of

ZHP01303141, Valsartan USP Monograph.

      35.    Attached hereto as Exhibit 34 is a true and accurate copy of

ZHP02614594, Valsartan Tablets USP Monograph.

      36.    Attached hereto as Exhibit 35 is a true and accurate copy of

PRINSTON00141349, Valsartan HCTZ USP Monograph.
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      37.   Attached hereto as Exhibit 36 is a true and accurate copy of Liteplo,

Meek, and Windle, N-Nitrosodimethylamine: Concise International Chemical

Assessment Document 38 (WHO 2002).

      38.   Attached hereto as Exhibit 37 is a true and accurate copy of the relevant

portion of ZHP02563814, Annex 1a.1 NDMA and NDEA Test Results for all ARBs

in USDMF Grade, namely the valsartan test results.

      39.   Attached hereto as Exhibit 38 is a true and accurate copy of

ZHP02563015, an email from ZHP to the FDA attaching ZHP02563814.

      40.   Attached hereto as Exhibit 39 is a true and accurate copy of

PRINSTON00158423, ZHP’s response to the FDA’s requests for additional

information related to the November 29, 2018 Warning Letter.

      41.   Attached hereto as Exhibit 40 is a true and accurate copy of

PRINSTON00162349, the FDA’s EIR for the July 23 to August 3, 2018 inspection.

      42.   Attached hereto as Exhibit 41 is a true and accurate copy of

ZHP00079913, ZHP’s Response to DMF Information Request Letter.

      43.   Attached hereto as Exhibit 42 is a true and accurate copy of

TORRENT-MDL2875-00133890, Torrent’s Valsartan Impact Assessment of NDEA.

      44.   Attached hereto as Exhibit 43 is a true and accurate copy of Gomm W,

Röthlein C, Schüssel K, Brückner G, Schröder H, Heß S, Frötschl R, Broich K,

Haenisch B. N-Nitrosodimethylamine-Contaminated Valsartan and the Risk of
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Cancer—A Longitudinal Cohort Study Based on German Health Insurance Data.

Dtsch Arztebl Int. 2021 May 28;118(21):357-362. doi: 10.3238/arztebl.m2021.0129.

PMID: 34247699; PMCID: PMC8372009.

      45.    Attached hereto as Exhibit 44 is a true and accurate copy of the relevant

portion of the transcript of Tiffanie Mrakovich’s August 31, 2021 deposition.

      46.    Attached hereto as Exhibit 45 is a true and accurate copy of a letter

from CMS to Summacare, dated August 11, 2014.

      47.    Attached hereto as Exhibit 46 is a true and accurate copy of the

transcript of Jucai Ge’s May 26, 2022 deposition.

      48.    Attached hereto as Exhibit 47 is a true and accurate copy of ZHP’s

translation of ZHP00190573, the July 27, 2017 email.

      49.    Attached hereto as Exhibit 48 is a true and accurate copy of ZHP’s

Stipulation, dated May 13, 2022.

      50.    Attached hereto as Exhibit 49 is a true and accurate copy of

SOLCO00024231, Solco’s recall notice.

      51.    Attached hereto as Exhibit 50 is a true and accurate copy of

SOLCO00024226, Prinston’s recall notice.

      52.    Attached hereto as Exhibit 51 is a true and accurate copy of the

transcript of Min Li’s April 22, 2021 deposition.
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      53.    Attached hereto as Exhibit 52 is a true and accurate copy of Health

Canada’s Impurities found in certain angiotensin II receptor blocker (ARB)

products, also known as sartans (Apr. 29, 2019), https://www.canada.ca/en/health-

canada/services/drugs-health-products/compliance-enforcement/information-

health-product/drugs/angiotensin-receptor-blocker.html.

      54.    Attached hereto as Exhibit 53 is a true and accurate copy of the FDA’s

December 5, 2022 Letter to Valisure, LLC.

      55.    Attached hereto as Exhibit 54 is a true and accurate copy of

ZHP00662283.

      56.    Attached hereto as Exhibit 55 is a true and accurate copy of the relevant

portion of the transcript of Dawn Chitty’s May 13, 2021 deposition.

      57.    Attached hereto as Exhibit 56 is a true and accurate copy of the relevant

portion of the transcript of Sushil Jaiswal’s June 4, 2021 deposition.

      58.    Attached hereto as Exhibit 57 is a true and accurate copy of the relevant

portion of the transcript of Daniel Barreto’s April 14, 2021 deposition.

      59.    Attached hereto as Exhibit 58 is a true and accurate copy of the relevant

portion of the transcript of Claire Lyon’s April 27, 2021 deposition.

      60.    Attached hereto as Exhibit 59 is a true and accurate copy of the relevant

portion of the transcript of Roger William’s February 17, 2022 deposition.
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      61.    Attached hereto as Exhibit 60 is a true and accurate copy of the relevant

portion of the transcript of Raphael Nudelman’s April 8, 2021 deposition.

      62.    Attached hereto as Exhibit 61 is a true and accurate copy of the

transcript of the opening arguments in Sugarman v. Johnson & Johnson.

      63.    Attached hereto as Exhibit 62 is a true and accurate copy of

TORRENT-MDL2875-00000003, Torrent’s valsartan ANDA.

      64.    Attached hereto as Exhibit 63 is a true and accurate copy of

TORRENT-MDL2875-00002771, Torrent’s valsartan HCTZ ANDA.

      65.    Attached hereto as Exhibit 64 is a true and accurate copy of

TORRENT-MDL2875-00019489, Torrent’s valsartan amlodipine HCTZ ANDA.

      66.    Attached hereto as Exhibit 65 is a true and accurate copy of TEVA-

MDL2875-00680841, ZHP’s memo to customers regarding the NDMA

contamination.

      67.    Attached hereto as Exhibit 66 is a true and accurate copy of the relevant

portion of the transcript of Daniel Barreto’s April 15, 2021 deposition.

      68.    Attached hereto as Exhibit 67 is a true and accurate copy of TEVA-

MDL2875-00042637, TEVA’s Valsartan Testing Strategy, dated August 14, 2018.

      69.    Attached hereto as Exhibit 68 is a true and accurate copy of the relevant

portion of the transcript of Dr. Rena Conti’s February 1, 2024 deposition.
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      70.    Attached hereto as Exhibit 69 is a true and accurate copy of the relevant

portion of the transcript of Andrew Colby’s February 7, 2024 deposition.

      71.    Attached hereto as Exhibit 70 is a true and accurate copy of the relevant

portion of the transcript of Jorge Lopez’s April 29, 2021 deposition.

                                MAZIE SLATER KATZ & FREEMAN, LLC

                                Attorneys for Plaintiffs


                                By:    /s/ Adam M. Slater

Dated: February 16, 2024
